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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                          *
                                                  *
vs.                                               *       No. 4:08CR00314-002 SWW
                                                  *
REVERIANO MADRIGAL                                *
                                                  *
                                                  *

                                              ORDER

       Before the Court is the government’s motion to exclude defendant’s eyewitness

identification expert testimony to which defendant responded.

       “Expert testimony is admissible only if the expert ‘is proposing to testify to (1) scientific

knowledge that (2) will assist the trier of fact to understand or determine a fact in issue.’” United

States v. Martin, 391 F.3d 949, 954 (8th Cir. 2004)(quoting Daubert v. Merrell Dow Pharm., Inc.,

509 U.S. 579, 592 (1993). In Martin, the district court excluded eyewitness expert testimony,

noting that the eyewitness identifications at issue were corroborated by other evidence. Because

the Court does not know what the government’s other evidence against the defendant will be, the

motion [docket entry 111] to exclude is denied at this time. See United States v. Davis, 260 F.3d

965, 970 (8th Cir. 2001)(court reluctant to find abuse of discretion “unless the government’s case

against the defendant rested exclusively on uncorroborated eyewitness testimony”). Upon

motion, the Court will schedule a hearing to re-consider the motion.

       DATED this 24th day of March, 2010.

                                                      /s/Susan Webber Wright

                                                  UNITED STATES DISTRICT JUDGE
